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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MINNESOTA


In Re: Anthony J. Lastovich,                                   Bankruptcy Case No.: 19-50848
                                                                                  Chapter 13
                       Debtor(s).

  NOTICE OF REQUEST FOR EXPEDITED RELIEF AND AMENDED NOTICE OF HEARING AND MOTION
                          TO AVOID LIENs IMPARING EXEMPTION


TO:           Judgment Creditors Listed Below, U.S. Trustee and other Parties
              in Interest.

      1. The Debtor, above-named, moves the Court for expedited relief and gives notice of

         hearing for the relief requested below.

      2. The Court will hold a Hearing on this Motion at 10:00 a.m. on Thursday, September

         3, 2020, in Courtroom 8 West, Diana E. Murphy United States Courthouse, 300

         South Fourth Street, Minneapolis, Minnesota 55415.

      3. Due to the expedited nature of this motion, Debtor waives any objection to any

         response filed within 2 hours of the hearing. UNLESS A RESPONSE OPPOSING THE

         MOTION IS TIMELY FILED, THE COURT MAY GRANT THE MOTION WITHOUT A

         HEARING.

      4. This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§157 and 1334,

         Federal Rule of Bankruptcy Procedure 5005 and Local Rule 1070-1.                   This

         proceeding is a core proceeding. The Petition commencing this Chapter 13 case

         was filed on October 28, 2019.

      5. This Motion arises under 11 U.S.C. §522. This Motion is filed under Federal Rule of

         Bankruptcy Procedure 9014 and Local Rules 9013-1 through 9019-1(d).                 The

         purpose of this motion is to avoid the fixing of judicial liens against real property of

         the Debtor.

      6. A judgment was entered and docketed against Debtor in favor of Ess Brothers and
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     Sons, Inc. on 09/04/2018, in St. Louis County Minnesota, District Court File Number

     69DU-CV-18-1457 in the original amount of $8,657.86.

  7. A judgment was entered and docketed against Debtor in favor of Teamsters Local

     346 Savings and 401(k) Plan on 10/29/2018, in St. Louis County Minnesota,

     District Court File Number 69DU-CV-18--2917 in the original amount of $51,566.39.

  8. A judgment was entered on 10/05/2018 and docketed on 01/11/2019 against

     Debtor in favor of David Schrunk and Steven Sauer as Trustees of the Minnesota

     Teamsters Construction Division Health and Welfare Fund, in St. Louis County

     Minnesota, District Court File Number 69DU-CV-19-126 in the original amount of

     $12,309.46.

  9. A judgment was entered on 12/11/2018 and docketed on 01/11/2019 against

     Debtor in favor of John Nesse and Tim Mackey, as Trustees of the Minnesota

     Laborers Health and Welfare Fund in St. Louis County Minnesota, District Court File

     Number 69DU-CV-19-127 in the original amount of $15,838.85.

  10. A judgment was entered on 07/09/2018 and docketed on 08/08/2018 against

     Debtor in favor of North East Technical Services in St. Louis County Minnesota,

     District Court File Number 69HI-CV-18-751 in the original amount of $8,305.55.

  11. A judgment was entered on 04/05/2019 and docketed on 04/11/2019 against

     Debtor in favor of Laurentian Aggregate, LLC in St. Louis County Minnesota, District

     Court File Number 69HI-CV-18-807 in the original amount of $62,639.50.

  12. A judgment was entered and docketed against Debtor in favor of Capital One Bank

     (USA) N.A. on 09/25/2019, in St. Louis County Minnesota, District Court File Number

     69HI-CV-19-955 in the original amount of $14,872.28.

  13. A judgment was entered and docketed against Debtor in favor of Retail Capital

     Partners, LLC, dba Credibly on 05/13/2019, in St. Louis County Minnesota, District
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       Court File Number 69DU-CV-19-1220 in the original amount of $34,022.56.

  14. A judgment was entered on 06/04/2019 and docketed on 06/05/2019 in favor of

       Glen Johnson and Timothy Gillen Trustees of the Operating Engineers Local #49

       Health and Welfare Fund, et al in United States District Court, District of Minnesota

       Civil File Number 18-CV-421 (LIB) in the original amount of $28,097.90.

  15. The total of the judgments is $236,310.35.

  16. Debtor claimed a $347,100 exemption for his abstract homestead real estate under

       Minnesota Statutes § 510.01 which is described as:

   Lot 2, Block 1, Sellars Beach, Saint Louis County, MN

  17. The Meeting of Creditors was held on December 17, 2019. No party in interest or

       creditor has filed an objection to the claimed exemptions and the exemptions are

       allowed.

  18. The judgments are, or appear to be, judicial liens within the meaning of 11 U.S.C. §

       101(36).

  19. The judgments are not for a domestic support obligation as described in 11 U.S.C. §

       523(5), nor are they for labor or materials provided to the real property by any of the

       judgment creditors.

  20. The judgment liens impair an exemption to which the Debtor is entitled pursuant to

       § 522(b) and (f)(1) or (2) of the U.S. Bankruptcy Code.

  21. The Debtor listed a value of $700,000 for the homestead real property on Schedule

       A/B of his bankruptcy schedules.

  22. There is a first mortgage against the property in favor of Cenlar Mortgage Central

       Loan Administration recorded on 11/25/15 as doc #01274612 with a loan balance

       of $243,900.

 23.        There is a tax lien against the property in favor of the IRS recorded on
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        3/5/2018 as doc #01328731 with a balance of $56,255.56.

   24. There was a tax lien against the property in favor of Minnesota DEED for

         unemployment taxes recorded on 12/20/2017 as doc #01324475 in the amount

         of $56,435.84.

  25.    The mortgage and tax liens are superior in title to all of the judgment liens.

  26.    The total of the balances of the mortgage and tax liens against the property is

         $356,591.40. Subtracting this total from the listed value of $700,000 results in a

         net equity of $343,408.60. The amount of the allowed exemption is $347,100.

  27.     The Debtor has the right to avoid the judicial liens pursuant to 11 U.S.C.

        §522(f)(1)(A).

  28.    Debtor requests an order determining that the judgment liens do not attach to the

         exempt real property or to the proceeds thereof.

  29.    In the event testimony is taken, the Debtor will testify at the hearing.

WHEREFORE, the Debtor moves the Court for entry of an Order that the judgment liens

described above are avoided and for such other relief as the Court deems just and equitable.

        Dated this 24th day of August 2020.



                                                    /s/ John F. Hedtke
                                                    John F. Hedtke, #167666
                                                    Attorney for Debtor
                                                    1217 East First Street
                                                    Duluth, Minnesota 55805
                                                    218/728-1993
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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA

In Re: Anthony J. Lastovich,                                   Bankruptcy Case No.: 19-50848
                                                                                  Chapter 13
                       Debtor.

      MEMORANDUM OF LAW IN SUPPORT OF MOTION TO AVOID JUDGMENT LIENS

       The Debtor brings this Motion to avoid the fixing of judicial liens against his exempt

abstract homestead real property. The Debtor exempted the homestead real estate under

Minnesota Statutes § 510.01 claiming an exemption of $347,100. The exemption was

allowed. Under Minnesota Statutes §510.01, the homestead exemption available to the

debtor is $420,000.

       It appears from the recording information provided on Schedule D of the Debtor’s

bankruptcy schedules that all of the judgment liens sought to be avoided were docketed

after the recording of the mortgage and the tax liens identified below. That would make

them all subordinate to the mortgage and tax liens because a judgment becomes a lien

against all abstract real estate only from the time of docketing in the county where the real

estate is located under Minnesota Statutes §548.09.

     The Debtor’s homestead real property in St. Louis County, Minnesota had a scheduled

value of $700,000. The property is described as follows:

       Lot 2, Block 1, Sellars Beach, Saint Louis County, MN

    The judicial liens sought to be avoided in this action total $236,310.35. The property

was subject to a first mortgage in favor of Cenlar Mortgage with a balance of $243,900 and

two tax liens totaling $112,691.40.

    Section 522(f)(1) of the Bankruptcy Code allows a debtor to avoid a judicial lien “to the

extent that such lien impairs an exemption to which the debtor would have been entitled.”

11 U.S.C. §522(f)(1)
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   The issue at hand is whether the several judgment liens impair an exemption. The

answer to this question involves the invocation of the formula set out in 11 U.S.C.

§522(f)(2)(A) which provides:

        (2)(A) For the purposes of this subsection, a lien shall be considered to impair an

exemption to the extent that the sum of—


(i) the [judicial] lien;

(ii) all other liens on the property; and

(iii) the amount of the exemption that the debtor could claim if there were no liens on the
property;

exceeds the value that the debtor's interest in the property would have in the absence of
any liens.

        Applying the formula to the homestead property, the amount of the judgment liens

($236,310.35) plus the mortgage and tax liens balance ($356,591.40) plus the

homestead exemption ($420,000) equals $1,012,901.70. This $1,012,901.70 sum

exceeds the scheduled value of the real estate ($700,000).

        A question that is commonly before a court how much of the judicial lien is to be

avoided? A part or all? This question was answered by the court in In re Kolich, 328 F3rd

406 (8th Cir.2003).

        The answer is that the judicial lien(s) is to be avoided only to the extent that the

lien(s) impairs the exemption. Conversely, the judicial lien may not be avoided to the extent

that the debtor’s equity in the property exceeds the allowed exemption. Id. at FN 2, pg 409.

        In the case at hand, it is clear that the judicial liens are to be avoided in their

entirety because under the §522(f)(2)(A) formula, the sum of the (i), (ii) and (iii) items

($1,013,996.70) exceeds the debtor’s interest in the property ($700,0000) and thus

impairs the exemption.
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    For the reasons advanced above, the Debtor is entitled to the relief requested.

           Dated this 24th day of August 2020.

                                              /s/ John F. Hedtke
                                              John F. Hedtke, #167666
                                              Attorney for Debtor
                                              1217 East First Street
                                              Duluth, Minnesota 55805
                                              (218) 728-1993
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


In Re: Anthony J. Lastovich,                                  Bankruptcy Case No.: 19-50848
                                                                                 Chapter 13
                      Debtor.

                             ORDER AVOIDING LIENS
______________________________________________________________________________

        This case came before the Court on the Debtor’s Motion. Based on the Motion and
the file, record and proceeding herein,

       IT IS ORDERED:

       1. The request for expedited relief is granted.

       2. That the judicial liens described below are avoided as to the following real estate
          and any proceeds thereof:

      Lot 2, Block 1, Sellars Beach, Saint Louis County, MN

      a. The apparent lien in favor of Ess Brothers and Sons, Inc. in St. Louis County

         Minnesota, District Court File Number 69DU-CV-18-1457 in the original amount of

         $8,657.86.

      b. The apparent lien in favor of Teamsters Local 346 Savings and 401(k) Plan on

         10/29/2018, in St. Louis County Minnesota, District Court File Number 69DU-CV-

         18--2917 in the original amount of $51,566.39.

      c. The apparent lien in favor of David Schrunk and Steven Sauer as Trustees of the

         Minnesota Teamsters Construction Division Health and Welfare Fund, in St. Louis

         County Minnesota, District Court File Number 69DU-CV-19-126 in the original

         amount of $12,309.46.

      d. The apparent lien in favor of John Nesse and Tim Mackey, as Trustees of the

         Minnesota Laborers Health and Welfare Fund in St. Louis County Minnesota,

         District Court File Number 69DU-CV-19-127 in the original amount of $15,838.85.
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     e. The apparent lien in favor of North East Technical Services in St. Louis County

         Minnesota, District Court File Number 69HI-CV-18-751 in the original amount of

         $8,305.55.

     f. The apparent lien in favor of Laurentian Aggregate, LLC in St. Louis County

         Minnesota, District Court File Number 69HI-CV-18-807 in the original amount of

         $62,639.50.

     g. The apparent lien in favor of Capital One Bank (USA) N.A. on 09/25/2019, in St.

         Louis County Minnesota, District Court File Number 69HI-CV-19-955 in the original

         amount of $14,872.28.

     h. The apparent lien in favor of Retail Capital Partners, LLC d/b/a Credibly on

         05/13/2019, in St. Louis County Minnesota, District Court File Number 69DU-CV-

         19-1220 in the original amount of $34,022.56.

    i.   The apparent lien in favor of Glen Johnson and Timothy Gillen Trustees of the

         Operating Engineers Local #49 Health and Welfare Fund, et al in United States

         District Court, District of Minnesota Civil File Number 18-CV-421 (LIB) in the original

         amount of $28,097.90.




Dated:

                                                          _____________________________
                                                          U.S. Bankruptcy Judge
